     Case 2:14-cv-04959-JLS-SP Document 24 Filed 10/14/21 Page 1 of 1 Page ID #:161




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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
      JAVIER PELLECER,             ) Case No. 2:14-cv-04959-JLS (SP)
11                                 )
                      Plaintiff,   )
12                                 ) JUDGMENT
                  v.               )
13                                 )
      MIGUEL GUTIERREZ, ET AL., )
14                                 )
                      Defendants. )
15                                 )
                                   )
16   _____________________________ )
17
18         Pursuant to the Order Accepting Findings and Recommendation of United States

19   Magistrate Judge,

20         IT IS HEREBY ADJUDGED that the First Amended Complaint and this action are

21   dismissed with prejudice.

22
23   Dated: October 14, 2021
24                                 _______________________________________
25                                 HONORABLE JOSEPHINE L. STATON
                                   UNITED STATES DISTRICT JUDGE
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